Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 1 of 19
Leave to file GRANTED

aati Kar Ashro,

Beryl A. Howell Date
United States District Judge

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Media Products, Inc. DBA Devil's Film Civil Action No. 11-CV-02299-BAH
Plaintiff,
Vs. MOTION TO QUASH OR MODIFY
SUBPOENA AND SEVER
DEFENDANTS
DOES 1-31,
Defendants.

 

MOTION TO QUASH OR MODIFY SUBPOENA
AND SEVER DEFENDANTS
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 2 of 19

 

TABLE OF CONTENTS
Table of Authorities 20... ce eeeeseeseeseceneeesecneecseecsecsesscetaeevaeeseeeseseaersesseesaeeeeseeseaeeeeesaeesseeeseatns iil
Introduction oo... cccccecceceecesesecsecsecseccensesseesecseceeceeeecesseesecsececseceecereesesesesaeesecsesaeseeteaeeessaeeaeeatenees 1
Facts as Alleged by Plaintiff... cccccccccceccceseesceneeceeeceseeecnseeseesessesseeseeseesseeeeaeeeseeaesesenessesereaees 3
Legal Argument... ceeeeecseesceseeseeseteecneeeeessessesnecsecacesecscsenscesesetsesscnaenseseeaesaeesecsesersetreeenees 4
L. The Subpoena Should Be Quashed Because Plaintiff Has Not Established That

This Court Has Personal Jurisdiction Over Defendant ..0......0ccceeccecceteeeseeetsees 4
A. Plaintiff Has Not Met Its Burden of Establishing Personal Jurisdiction.. 4
B. Plaintiff Cannot Engage In Discovery to Find Jurisdictional Facts......... 6

I. The Subpoena Should Be Quashed Because It Violates Defendant’s First
Amendment Right to Anonymous Speech 0.0... ce eeceeseesereessecneeseeessteeeensvaeentens 7

A. The First Amendment Protects Defendant’s Right to Engage in

AMOnyMOuS Speech... ee eeceeeeeeeneeeseeeeeeeceeceseeseseneeseaeesieesaaseneeteeeseatens 7
B, Plaintiff’s Subpoena Cannot Survive the Dendrite Test... eee 9
C. Plaintiffs Subpoena Cannot Survive the Sony Test... eee eeeeeeeeee 11
II. John Does 2-31 Should Be Severed for Misjoinder .........cccccccceeceteeeseeteeeneeeees 12
COnCIUSION......ccceecceceeceecceeseeeescecsaeceneesececesceceaeecsaecenessaeesseessnesueesearesseniaessseseneetresreeenseersaeeesaee 14

H
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 3 of 19

TABLE OF AUTHORITIES
Cases
ALS Scan v. Digital Service Consultants, 293 F.3d 707 (4th Cir. 2002)

BMG Music v. Does 1-203, 2004 U.S. Dist. LEXIS 8457, 2004 WL 953888
(E.D. Pa. Apr. 2, 2004)

Burger King Corp. v. Rudzewicz, 471 U.S. 462 (1985)
Call of the Wild Movie, LLC v. Does 1-1,062, 770 F. Supp. 2d 332 (D.D.C. 2011)

CP Productions, Inc. v. Does 1-300, 2011 U.S. Dist. LEXIS 113013
(N.D. Ill. February 24, 2011)

CP Productions, Inc. v. Does 1-300, Statement of March 2, 2011 (available at http://
law. justia.com/cases/federal/district-courts/illinois/ilndce/1:2010cv06255/248010/33/)

Dendrite Int'l, Inc. v. Doe No. 3, 775 A.2d 756 (N.J. App. Div. 2001)

Diabolic Video Productions, Inc v. Does 1-2099, 2011 U.S. Dist. LEXIS 58351;
Copy. L. Rep. (CCH) P30,093 (N.D. Cal. May 31, 2011)

Digital Sin, Inc. v. Doe, 2011 U.S. Dist. LEXIS 128033 (N.D. Cal. Nov. 4, 2011)
Disparte v. Corporate Exec. Bd., 223 F.R.D. 7 (D.D.C. 2004)
Doe v. 2themart.com, 140 F. Supp. 2d 1088 (W.D. Wash. 2001)

Elektra Entmt Group, Inc. v. Does 1-9, 2004 U.S. Dist. LEXIS 23560, 2004 WL 2095581
(S.D.N.Y. Sept. 7, 2004)

Grandbouche v. Clancy, 825 F.2d 1463 (10th Cir. 1987)

In re Verizon Internet Servs. Inc., 257 F. Supp. 2d 244 (D.D.C. 2003)
In re Verizon Internet Servs. Inc., 351 F.3d 1229 (D.C. Cir. 2003)
Int’l Shoe Co. v. Washington, 326 U.S. 310 (1945)

Interscope Records v. Does, 558 F. Supp. 2d 1176 (D. Kan. 2008)

Interscope Records v. Does 1-25, 2004 U.S. Dist. LEXIS 27782 (M.D. Fla. Apr. 1, 2004)

ili
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 4 of 19

IO Group, Inc. v. Does 1-435, 2011 U.S. Dist. LEXIS 73837 (N.D. Cal. July 8, 2011)
Jennings v. AC Hydraulic A/S, 383 F.3d 546 (7th Cir. 2004)

LaFace Records, LLC v. Does 1-38, 2008 WL 544992 (E.D.N.C. Feb. 27, 2008)
McIntyre v. Ohio Elections Comm’n, 514 U.S. 334 (1995)

New York Times v. Sullivan, 376 U.S. 254 (1964)

Pacific Century International LTD y, Does 1-101, 2011 U.S. Dist. LEXIS 73837
(N.D. Cal. July 8, 2011)

Reno vy. ACLU, 521 U.S. 844 (1997)

Revell v. Lidov, 317 F.3d 467 (Sth Cir. 2002)

Silkwood v. Kerr-McGee Corp., 563 F.2d 433, 438 (10th Cir. 1977)

Sony Music Entm t, Inc. v. Does 1-40, 326 F. Supp. 2d 556 (S.D.N.Y. 2004)

VPR Internationale vs. Does 1-1017, 2011 U.S. Dist. LEXIS 64656
(C.D. Tl. April 29, 2011)

W. Coast Prods. v. Doe, 275 F.R.D. 9, 13 (D.D.C. 2011)
World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980)
Court Rules

Fed. R. Civ. P. 20

Fed. R. Civ. P. 21

Fed. R. Civ. P. 26

Fed. R. Civ. P. 45

iv
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 5 of 19

INTRODUCTION

Plaintiff filed this action alleging that 31 John Doe Defendants infringed on its
copyrighted work. Plaintiff alleges that the various John Doe defendants, including myself, a
John Doe identified by the IP address 96.255.163.254, (“Defendant”), participated in acts of
copyright infringement of a pornographic film.’ As this memorandum of law will show,
Plaintiff’s allegations are too unreliable to justify identifying Defendant, who has a First
Amendment right to anonymous speech. Further, Plaintiff’s subpoena should be quashed
because this Court lacks personal jurisdiction over Defendant. Finally, Defendant moves for
the severance of Does 2-31 because the John Does have been improperly joined for Plaintiffs
own convenience. In short, Defendant respectfully asks this Court not to indulge Plaintiff in

what amounts to a fishing expedition.

Mass lawsuits alleging copyright infringement by way of BitTorrent are designed
primarily to extract settlements from their hundreds of targets, earning the plaintiffs and their

992

law firms the label of “copyright trolls.”” In recent years, BitTorrent litigation has shifted to
focus on allegations of infringement of pornographic films, which are inherently more
embarrassing, providing ample motivation for defendants to settle once their identities are
revealed.? In their crusade to sue as many hapless individuals as possible while keeping court
fees to a minimum, plaintiffs disregarded the well-established rules of joinder, personal
jurisdiction, and discovery in their mass lawsuits alleging copyright infringement through

BitTorrent. For example, these lawsuits at one point included over twenty-thousand defendants

 

' Due to the need to protect Defendant’s identity, it is necessary to file this motion
anonymously.

* See, e.g., “Copyright Trolls,” Electronic Frontier Foundation,
https://www.eff.org/issues/copyright-trolls; “Copyright troll,” Wikipedia,
http://en.wikipedia.org/wiki/Copyright_troll.

3 “The motivation behind these cases appears to be to leverage the risk of embarrassment
associated with pornography to coerce settlement payments despite serious problems with the
underlying claims.” “Copyright Trolls,” Electronic Frontier Foundation,
https://www.eff.org/issues/copyright-trolls.

 

 

 
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 6 of 19

in the Northern District of California alone. In one such mass lawsuit in Illinois, the court noted
before dismissal:

[I]f the 300 unnamed defendants have in fact infringed any copyrights (something
that this court will assume to be the case, given the Complaint's allegations that so
state), each of those infringements was separate and apart from the others. No
predicate has been shown for thus combining 300 separate actions on the cheap —
if CP had sued the 300 claimed infringers separately for their discrete
infringements, the filing fees alone would have aggregated $105,000 rather than
$350.

CP Productions, Inc. v. Does 1-300, 2011 U.S. Dist. LEXIS 113013, *2-3 (N.D. Ill. February
24, 2011). District Judge Milton Shadur wrote about one plaintiffs abuse of the litigation

system “in more than one way” with its “ill-considered” lawsuit:

This Court has received still another motion by a “Doe” defendant to quash a
subpoena in this ill-considered lawsuit filed by CP Productions, Inc. (“CP”)
against no fewer than 300 unidentified “Doe” defendants — this one seeking the
nullification of a February 11, 2011 subpoena issued to Comcast
Communications, LLC. This Court’s February 24, 2011 memorandum opinion and
order has already sounded the death knell for this action, which has abused the
litigation system in more than one way. But because the aggrieved Doe defendants
continue to come out of the woodwork with motions to quash, indicating an
unawareness of this Court’s dismissal of this action, 1 CP“s counsel is ordered to
appear in court on March 9, 2011 at 9:00 a.m. Counsel will be expected to discuss
what steps should be taken to apprise all of the targeted “Doe” defendants that
they will not be subject to any further trouble or expense as a result of this ill-
fated (as well as ill-considered) lawsuit.

CP Productions, Inc. v. Does 1-300, Statement of March 2, 2011 (available at
http://law.justia.com/cases/federal/district-courts/illinois/ilndce/1:2010cv06255/248010/33/).

In another BitTorrent case in Illinois, District Judge Harold A. Baker writes in denying
certification for interlocutory review of a previously-denied motion for expedited discovery:

The court has no jurisdiction over any of the Does at this time; the imprimatur of
this court will not be used to advance a “fishing expedition by means of a
perversion of the purpose and intent” of class actions.

VPR Internationale vs. Does 1-1017, 2011 U.S. Dist. LEXIS 64656 (C.D. Ill. April 29, 2011)

(quoting the court’s earlier order denying expedited discovery). Having been

2
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 7 of 19

rejected by the federal district courts in California and Illinois, inter alia, the “copyright
trolls” now forum-shop for a district that will allow them to engage in fishing

expeditions.

FACTS AS ALLEGED IN PLAINTIFF’S COMPLAINT

 

Plaintiff Media Products, Inc. DBA Devil's Film (‘Plaintiff’) alleges that it is the
owner of a copyrighted work. A Google search for the company in question reveals that it is a
pornographic film studio.’ Plaintiff alleges that John Does #1-31 have infringed on its
copyright by illegally downloading and/or distributing a movie.

The BitTorrent protocol is a peer-to-peer downloading program that allows groups
of users to download and upload data from each other. Multiple BitTorrent users exchange

pieces of information in what is known as a “swarm.”

Plaintiff conclusorily alleges that each of the John Doe Defendants distributed
Plaintiff's work to others. In support of this allegation, Plaintiff offers only a list of internet
protocol (“IP”) addresses, listed by internet service provider (“ISP’’) and dates upon which
infringing activity was allegedly observed. Plaintiff does not identify the person or persons
who observed the alleged infringing activity, nor does Plaintiff explain how the alleged
infringing activity was observed. Armed with this information, Plaintiff asserts that
information obtained in discovery will lead to the identification of each Defendant’s true name
and permit the Plaintiff to amend this Complaint to state the same. To this end, Plaintiff has
issued a Subpoena to Verizon Internet Services, Defendant’s ISP, requesting the disclosure of

Defendant's identifying information.

 

4 See Google, http://www.google.com/#hl=en&output=search&q=%22devil'stfilm%22 (note
that the results of this search are obviously not safe to open in a courtroom or work
environment)
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 8 of 19

LEGAL ARGUMENT

I. THE SUBPOENA SHOULD BE QUASHED BECAUSE PLAINTIFF HAS NOT
ESTABLISHED THAT THIS COURT HAS PERSONAL JURISDICTION OVER
DEFENDANT.

A. Plaintiff Has Not Met Its Burden of Establishing Personal Jurisdiction

First, Plaintiff's subpoena should be quashed because Plaintiff has not established
that this Court has personal jurisdiction over Defendant, as required by the Due Process Clause
of the Fourteenth Amendment. Rule 26 of the Federal Rules of Civil Procedure requires parties
to confer before discovery may be taken, with the exception that “[f]or good cause, the court
may order discovery of any matter relevant to the subject matter involved in the action.” Fed.
R. Civ. P. 26(b)(1). Because Plaintiff has not established personal jurisdiction over Defendant,
nor the other Doe Defendants, Plaintiff has not shown good cause why early discovery
should be granted. Plaintiffs theory in a nutshell is that because each John Doe Defendant
allegedly engaged in file-sharing over the internet, each and every John Doe Defendant is
subject to personal jurisdiction in this District. However, such a theory of universal personal
jurisdiction is antithetical to constitutional principles of fairness and due process.

Under well-established principles of personal jurisdiction, Plaintiff has not met
and cannot meet its burden to establish that this Court has personal jurisdiction over Defendant,
nor the majority of the other John Doe Defendants. The Due Process Clause imposes on every
plaintiff the burden of establishing personal jurisdiction as a fundamental matter of fairness,
recognizing that no defendant should be forced to have his rights and obligations determined in
a jurisdiction with which he has had no contact. These requirements allow “potential
defendants to structure their primary conduct with some minimum assurance as to where that
conduct will and will not render them liable to suit.” World-Wide Volkswagen Corp. v.
Woodson, 444 U.S. 286, 297 (1980).

Accordingly, the Plaintiff bears the burden of pleading facts sufficient to support
the Court’s exercise of personal jurisdiction over the Defendants. See, e.g., Edmond v. United
States Postal Serv. Gen. Counsel, 949 F.2d 415, 424 (D.C. Cir. 1991). Under the Due Process
Clause, a plaintiff must demonstrate that: (1) the non-resident “has ‘minimum contacts’ with

4
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 9 of 19

the forum” and (2) “requir[ing] the defendant to defend its interests in that state ‘does not
offend traditional notions of fair play and substantial justice.’” Int'l Shoe Co. v. Washington,
326 U.S. 310, 316 (1945); see also Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474-77
(1985). Plaintiff has not met this burden.

To the extent that Plaintiff claims personal jurisdiction based on the interstate
transmission of data via a small number of John Does who do reside in the District of
Columbia, courts have long rejected such theories of effective universal jurisdiction. As the
Fourth Circuit explained in ALS Scan vy. Digital Service Consultants, 293 F.3d 707 (4th Cir.
2002):

The argument could . . . be made that the Internet’s electronic signals are
surrogates for the person and that Internet users conceptually enter a State to the
extent that they send their electronic signals into the State, establishing those
minimum contacts sufficient to subject the sending person to personal jurisdiction
in the State where the signals are received. .. But if that broad interpretation of
minimum contacts were adopted, State jurisdiction over persons would be
universal, and notions of limited State sovereignty and personal jurisdiction would
be eviscerated.
Id. at 712-713 (citations omitted). Accordingly, the court limited the exercise of personal
jurisdiction based on Internet usage to situations where the defendant “(1) directs electronic
activity into the State, (2) with the manifested intent of engaging in business or other
interactions within the State, and (3) that activity creates, in a person within the State, a
potential cause of action cognizable in the State’s courts.” Jd. at 714.

Under this standard, which has been echoed by other courts, “‘a person who
simply places information on the Internet does not subject himself to jurisdiction in each State
into which the electronic signal is transmitted and received.” /d.; see also Jennings v. AC
Hydraulic A/S, 383 F.3d 546, 550 (7th Cir. 2004) (“Premising personal jurisdiction on the
maintenance of a website, without requiring some level of ‘interactivity’ between the defendant
and consumers in the forum state, would create almost universal personal jurisdiction because
of the virtually unlimited accessibility of websites across the country.”); Revell v. Lidov, 317
F.3d 467, 475-76 (Sth Cir. 2002) (‘The defendant must be chargeable with knowledge of the

forum at which his conduct is directed in order to reasonably anticipate being haled into court

in that forum.”).
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 10 of 19

In the immediate case, even assuming that each of the Defendants knew that they
were infringing a copyright of Media Products, there is no evidence that Media Products has
any connection to, nor, if such a connection does exist, that Defendant nor any of the other
Does were aware of it. Consequently, Plaintiff has not made a prima facie showing that any of
the Defendants had any idea that Plaintiff Media Products, Inc., would suffer any harm in the
District of Columbia.

B. Plaintiff Cannot Engage In Discovery to Find Jurisdictional Facts

The Court should not allow Plaintiff early discovery to seek jurisdictional facts.
Plaintiff's failure to meet its burden of showing personal jurisdiction is to be determined before
discovery is issued, not after.

In order to obtain discovery on personal jurisdiction, a plaintiff must first make a
“preliminary showing of jurisdiction.” See Ticketreserve, Inc. v. Viagogo, Inc., 656 F. Supp. 2d
775, 782 (N.D. Ill. 2009) (“At minimum, the plaintiff must establish a prima facie showing of
personal jurisdiction before discovery will be permitted.”’); accord Central States, Southeast &
Southwest Areas Pension Fund v. Reimer Express World Corp., 230 F.3d 934, 946 (7th Cir.
2000). When, as here, the plaintiff offers only speculation of jurisdiction, it is well within the
Court’s discretion to deny early discovery requests, as such “fishing expeditions” into
jurisdictional facts are strongly disfavored by the federal courts. See, e.g., Base Metal Trading,
Ltd. v. OJSC “Novokuznetsky Aluminum Factory”, 283 F.3d 208, 216 n. 3 (4th Cir. 2002)
(holding that a court can properly deny a discovery request if “the plaintiff simply wants to
conduct a fishing expedition in the hopes of discovering some basis of jurisdiction.”); see also
Papst v. Konica-Minolta Photo Imaging, Inc., 590 F. Supp. 2d 94, 101 (D.D.C. 2008). The

Court should wisely exercise its discretion to disallow Plaintiff its fishing expedition.
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 11 of 19

il. THE SUBPOENA SHOULD BE QUASHED BECAUSE IT VIOLATES
DEFENDANT?’S FIRST AMENDMENT RIGHT TO ANONYMOUS SPEECH.

Most importantly, the Court should quash Plaintiff's subpoena because it violates
Defendant’s First Amendment right to anonymous speech. The First Amendment applies
because Defendant is alleged to have engaged in anonymous communication and Plaintiffs
claims arise from those alleged activities. Given the paramount importance of Defendant’s
First Amendment rights, as well as the rights of the other John Does, it is essential that the
Court take these rights into account before allowing Plaintiff to proceed with its fishing
expedition.

A. The First Amendment Protects Defendant’s Right to Engage in Anonymous

Speech.

The United States Supreme Court has consistently upheld the right to anonymous
speech in a variety of contexts, noting that “[a]nonymity is a shield from the tyranny of the
majority . . . [that] exemplifies the purpose [of the First Amendment] to protect unpopular
individuals from retaliation... at the hand of an intolerant society.” McIntyre v. Ohio
Elections Comm’n, 514 U.S. 334, 357 (1995). This fundamental right enjoys the same
protections whether the context for speech and association is an anonymous political leaflet, an
Internet message board or a video-sharing site. Reno v. ACLU, 521 U.S. 844, 870 (1997)
(holding that there is “no basis for qualifying the level of First Amendment scrutiny that should
be applied to” the Internet); see also, e.g., Doe v. 2themart.com, 140 F. Supp. 2d 1088, 1092
(W.D. Wash. 2001) (stating that the Internet promotes the “free exchange of ideas” because
people can easily engage in such exchanges anonymously).

First Amendment protection extends to the anonymous publication of expressive
works on the Internet, even if the publication is alleged to infringe copyrights. See Sony Music
Entm t, Inc. v. Does 1-40, 326 F. Supp. 2d 556, 564 (S.D.N.Y. 2004) (“The use of P2P file
copying networks to download, distribute or make sound recordings available qualifies as
speech entitled to First Amendment protection.”); see also, e.g., In re Verizon Internet Servs.
Inc., 257 F. Supp. 2d 244, 260 (D.D.C. 2003), rev'd on other grounds, 351 F.3d 1229 (D.C. Cir.
2003); Interscope Records v. Does, 558 F. Supp. 2d 1176, 1178 (D. Kan. 2008). In Sony, the
court concluded that a file sharer is “making a statement” by downloading a work without

7
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 12 of 19

charge or license. 326 F. Supp. 2d at 564. In addition, a file sharer is expressing himself by
selecting and sharing particular content. /d. Therefore, a file sharer is entitled to “some level
of First Amendment protection.” Id.

Because the First Amendment protects anonymous speech and association, efforts
to use the power of the courts to pierce anonymity are subject to a qualified privilege. A court
order, even if granted to a private party, is state action and therefore subject to the limitations
imposed by the First Amendment. See, e.g., New York Times v. Sullivan, 376 U.S. 254, 265
(1964). Just as in other cases in which litigants seek information that may be privileged, courts
must consider the privilege before authorizing discovery. See, e.g., Grandbouche v. Clancy,
825 F.2d 1463, 1466 (10th Cir. 1987) (citing Silkwood v. Kerr-McGee Corp., 563 F.2d 433,
438 (10th Cir. 1977)) (‘“[W]hen the subject of a discovery order claims a First Amendment
privilege not to disclose certain information, the trial court must conduct a balancing test
before ordering disclosure.”). A subpoena must be quashed if it requires the disclosure of
privileged information. Fed. R. Civ. P. 45(c)(3) (“On timely motion, the issuing court must
quash or modify a subpoena that: . . . (iii) requires disclosure of privileged or other protected
matter, if no exception or waiver applies”’).

Only a compelling government interest can overcome such First Amendment rights,
and the mere filing of a lawsuit does not make the identification of a defendant a compelling
interest unless there is good reason to believe that the suit has a legitimate basis. The
identification of an anonymous speaker is a form of relief to the plaintiff (because it can enable
extra-judicial self-help such as that seen in these mass lawsuits), and it harms the anonymous
defendant, who cannot recover his right of anonymous expression. Relief— an order that both
benefits the plaintiff and hurts the defendant — is not customarily given without some proof of
wrongdoing.

Of course, the constitutional privilege to remain anonymous is not absolute.
Plaintiffs may properly seek information necessary to pursue meritorious litigation.
Accordingly, courts evaluating attempts to unmask anonymous speakers have adopted
standards that balance one person’s right to speak anonymously with a litigant’s legitimate need
to pursue a claim. In reaching this balance, courts from many jurisdictions rely on the seminal

case of Dendrite Int’l, Inc. v. Doe No. 3,775 A.2d 756 (N.J. App. Div. 2001). Under Dendrite,

8
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 13 of 19

a plaintiff must:
1) make reasonable efforts to notify the accused Internet user of the pendency of
the identification proceeding and explain how to present a defense;
2) set forth the exact actions of each Doe defendant that constitute actionable
cause;
3) allege all elements of the cause of action and introduce prima facie evidence for
each Doe defendant sufficient to survive a motion for summary judgment; and
4) “balance the defendant’s First Amendment right of anonymous free speech
against the strength of the prima facie case presented and the necessity for the
disclosure of the anonymous defendant’s identity to allow the plaintiff to
properly proceed.”
Dendrite, 775 A.2d at 760-61.
Alternately, courts have applied a less stringent test set forth in Sony Music
Entm t, Inc. v. Does 1-40:
The Sony test calls for the court to assess whether the plaintiffs’ need for
identifying information outweighs the putative defendants’ nght to First
Amendment anonymity by balancing: (1) the concreteness of the plaintiffs’
showing of a prima facie claim of actionable harm; (2) the specificity of the
plaintiffs’ discovery request; (3) alternative means to get the information the
plaintiffs seek; (4) the need for the information to advance the plaintiffs’ claim;
and (5) the objecting party's expectation of privacy.
Call of the Wild Movie, LLC v. Does 1-1,062, 770 F. Supp. 2d 332, 351 (D.D.C. 2011) (citing
Sony, 326 F. Supp. 2d at 564-65). Although this test has been used by this Court in the past,
see, e.g., id.; W. Coast Prods. v. Doe, 275 F.R.D. 9, 13 (D.D.C. 2011), these precedents are not
binding. The Dendrite test most accurately and cogently outlines Defendant’s First
Amendment rights and should be applied here.

B. Plaintiff’s Subpoena Cannot Survive the Dendrite Test.

Plaintiff's Subpoena fails the Dendrite test. First, Plaintiff has not provided sufficient
prima facie evidence that any Defendant infringed Plaintiffs exclusive right to reproduce and
distribute its copyrighted work. In its Complaint, Plaintiff conclusorily alleges that each of the
John Doe Defendants distributed Plaintiff's work to others. In support of this allegation,

Plaintiff offers only a list of internet protocol (“IP”) addresses, listed by internet service
9
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 14 of 19

provider (“ISP”) and dates upon which infringing activity was allegedly observed. Plaintiff
neither identifies the person or persons who observed the alleged infringing activity, nor
explains how the alleged infringing activity was observed. Plaintiff does not meet its prima
facie burden with this meager showing.

The information Plaintiff has provided regarding the IP addresses of the John Does 1s
not sufficient prima facie evidence to link Defendants to the alleged acts of copyright
infringement. As one court noted, a person’s IP address could be falsely identified for a
number of reasons:

Comcast subscriber John Doe 1 could be an innocent parent whose internet access was
abused by her minor child, while John Doe 2 might share a computer with a roommate
who infringed Plaintiffs’ works. John Does 3 through 203 could be thieves, just as
Plaintiffs believe, inexcusably pilfering Plaintiffs’ property and depriving them, and
their artists, of the royalties they are rightly owed. .. . Wholesale litigation of these
claims is inappropriate, at least with respect to a vast majority (if not all) of Defendants.

BMG Music v. Does 1-203, 2004 U.S. Dist. LEXIS 8457, 2004 WL 953888, at *1 (E.D. Pa.
Apr. 2, 2004) (severing lawsuit involving 203 defendants).

Instead of the conclusory showing made to date, Plaintiff must present verifiable
evidence for each Defendant. At minimum, Plaintiff must present ‘““competent evidence” that
would permit Defendants (and the Court) to evaluate reliability and completeness of
Defendants’ investigative process, such as affidavits of the persons who allegedly observed the
John Does’ IP addresses and screen shots showing the operation of the software used to
identify the IP addresses of the John Does. This information should be available to the
Plaintiff, so providing it as part of its prima facie showing would not be unduly burdensome.
See Dendrite, 775 A.2d at 772.

Moreover, requiring this showing would be reasonable and consistent with the
requirements set forth by other courts in similar file sharing cases. Those courts have found the
prima facie burden met with the submission of screenshots showing the IP addresses of each
John Doe Defendant (so the court can see that the submitted IP addresses match those
discovered during the investigation), copies or real-time capture of the technologies used, proof
that the downloaded movie matched Plaintiff's original film, and shots of the server logs to
which the Plaintiff claims to have had access. See, e.g., Elektra Entm t Group, Inc. v. Does 1-9,

10
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 15 of 19

2004 U.S. Dist. LEXIS 23560, 2004 WL 2095581, *4 (S.D.N.Y. Sept. 7, 2004). Without such
evidence, the Court must simply accept Plaintiffs’ word that the John Does identified by the
Plaintiffs’ Complaint have engaged in copyright infringement.

Further, under Dendrite, even if the other requirements are satisfied, the Court
must still “balance the defendant’s First Amendment right of anonymous free speech against
the strength of the prima facie case presented and the necessity for the disclosure of the
anonymous defendant’s identity to allow the plaintiff to properly proceed,” Dendrite, 775 A.2d
at 760-61. Producers of adult content are entitled to the same legal redress as other copyright
holders, but the nature of the material in question necessarily amplifies the risk of reputational
harm resulting from a mistaken identification.

C. Plaintiff’s Subpoena Cannot Survive the Sony Test.
Plaintiff's Subpoena also fails the Sony test. First, for the same reasons argued more
fully above with regards to the Dendrite test, Plaintiff’s allegations of copyright infringement
are conclusory and do not establish a concrete showing of copyright infringement. In support
of its allegations, Plaintiff offers only a list of internet protocol (“IP’’) addresses, listed by
internet service provider (“ISP’’) and dates upon which infringing activity was allegedly
observed. Plaintiff neither identifies the person or persons who observed the alleged infringing
activity, nor explains how the alleged infringing activity was observed. Plaintiff does not
provide any verification of how these results were obtained. Plaintiffs allegations should be
supported by an affidavit verifying the accuracy of the technology used to monitor the John
Does’ IP addresses. See Call of the Wild Movie, LLC, 770 F. Supp. 2d at 351 (‘The plaintiffs
support these allegations by supplying the date and time that the alleged infringement occurred,
along with affidavits from Messrs. Benjamin Perino and Patrick Achache describing the
process by which the defendants’ infringement was observed, recorded, and verified.”). Here,
Plaintiff’s utter lack of any such verification renders its allegations of copyright infringement
insufficiently concrete to outweigh Defendant’s First Amendment right to anonymity.

Additionally, the Court must weigh Plaintiff’s need for this information against
Defendant’s expectation of privacy. Sony, 326 F. Supp. 2d at 564-65. While in other file-
sharing contexts this expectation of privacy has been deemed “minimal,” Call of the Wild

Movie, LLC, 770 F. Supp. 2d at 353, this case is distinguishable based upon the nature of the

11
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 16 of 19

work allegedly involved. The embarrassment of an allegation of downloading pornography
can lead defendants to settle a case, even one without merit, once their identities are revealed,
rather than face a lengthy court battle. Given the harm that can come to Defendant’s reputation
from a false accusation of illegally downloading pornography, the Court should require a
stronger prima facie showing of copyright infringement.

Given the myriad procedural problems outlined above, and the lack of reliability
or transparency about the means by which the Plaintiff generated its list of “‘infringers,” the
Court should act to protect Defendant’s First Amendment rights and stop this fishing
expedition.

Ill. JOHN DOES 2-31 SHOULD BE SEVERED FOR MISJOINDER.
John Does 2-31 should be severed from this action for misjoinder. Parties may be
joined in one action as defendants if:

(A) any right to relief is asserted against them jointly, severally, or in the alternative
with respect to or arising out of the same transaction, occurrence, or series of
transactions or occurrences; and

(B) any question of law or fact common to all defendants will arise in the action.

Fed. R. Civ. P. 20(a)(2). This requires that claims be “logically related.” Disparte v. Corporate
Exec. Bd., 223 F.R.D. 7, 10 (D.D.C. 2004). The remedy for misjoinder of claims is severance.
Fed. R. Civ. P. 21; Call of the Wild Movie, LLC, 770 F. Supp. 2d at 342. “[I]t is well-settled
that parties are misjoined when the preconditions of permissive joinder set forth in Rule 20(a)
have not been satisfied." Disparte, 223 F.R.D. at 12. (internal citations omitted).

This Court has in the past denied to sever defendants from similar BitTorrent
cases. See Call of the Wild Movie, LLC, 770 F. Supp. 2d at 346. However, this precedent is
not binding.° Plaintiff urges the Court to consider the approach of other district courts, which

have severed hundreds of defendants from similar downloading litigation. See, e.g., Elektra

 

* Due to the nature of this type of litigation, cases are usually settled once the defendants’
identities are revealed. Because appellate decisions are rare, district courts around the country
have reached different results.

12
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 17 of 19

Entertainment Group, Inc., 2004 U.S. Dist. LEXIS 23560, 2004 WL 2095581 (severing Doe
#7); Interscope Records v. Does 1-25, No. 4-CV-197, 2004 U.S. Dist. LEXIS 27782 (M.D. Fla.
Apr. 1, 2004) (severing Does 2-25); Pacific Century International LTD y. Does 1-101, 2011
U.S. Dist. LEXIS 73837 (N.D. Cal. July 8, 2011) (severed does 2-101); JO Group, Inc. v. Does
1-435, 2011 U.S. Dist. LEXIS 73837 (N.D. Cal. July 8, 2011) (severed does 2-435); Diabolic
Video Productions, Inc v. Does 1-2099, 2011 U.S. Dist. LEXIS 58351; Copy. L. Rep. (CCH)
P30,093 (N.D. Cal. May 31, 2011) (severed Does 2-2099); Digital Sin, Inc. v. Doe, 2011 U.S.
Dist. LEXIS 128033 (N.D. Cal. Nov. 4, 2011) (dismissed Does 2-5698). As one court held,
“merely committing the same type of violation in the same way does not link defendants
together for purposes of joinder.” LaFace Records, LLC v. Does 1-38, 2008 WL 544992, *2
(E.D.N.C. Feb. 27, 2008) (severing lawsuit against 38 defendants where each defendant used
the same ISP and similar peer-to-peer networks). See also BMG Music v. Does 1-203, 2004
WL 953888, at *1 (E.D. Pa. Apr. 2, 2004) (severing lawsuit involving 203 defendants).

It has been argued by copyright plaintiffs and held by some courts that the
BitTorrent protocol’s nature makes separate acts of infringement a logically connected series of
transactions or occurrences. See Call of the Wild Movie, LLC, 770 F. Supp. 2d at 343 (because
“the BitTorrent file-sharing protocol makes every downloader also an uploader of the illegally
transferred file(s)’. . . the plaintiffs’ clatms against the defendants are logically related”).
However, this is not necessarily true: Plaintiff has alleged only that Defendants copied a movie.
Plaintiff does not allege that Defendants shared the exact same file from the same source
(indeed, Plaintiff does not include any details, such as file size, that would allow such an
inference to be drawn from its list of IP addresses). As one court noted:

BitTorrent users may upload different initial files of a given work, which results in
the creation of distinct swarms. See Lin Ye et al., A Measurement Study on
BitTorrent System, 3 Int'l J. Comm, Network & Sys. Sci 916, 916 (2000); see also
Ankur Patel, Comment, BitTorrent Beware: Legitimizing BitTorrent Against
Secondary Copyright Liability, 10 Appalachian J.L. 117, 119 (2011). ...a second
initial "seeder" may not enjoy television shows in low definition and instead
decide to upload a high definition file of the same episode for distribution.
Notably, because of the differences between the first, low definition file and the
second, high definition file, the participants in the first swarm would not interact
with those in the second swarm. . . That BitTorrent users have downloaded the
same copyrighted work does not, therefore, evidence that they have acted together
to obtain it.

13
Case 1:11-cv-02299-BAH Document 10 Filed 03/15/12 Page 18 of 19

Pacific Century International LTD v. Does I-101 2011, U.S. Dist. LEXIS 73837 at *12-13.
Plaintiff has not provided sufficient evidence that Defendants were indeed part of the same
BitTorrent “swarm,” sharing the same file, and has therefore not shown that Defendants’
alleged conduct was logically related to merit joinder.

Joining defendants together in one action merely allows Plaintiff’s counsel to
extract settlements from a maximum number of individuals while paying a minimum amount
of filing fees:

[I]f the 300 unnamed defendants have in fact infringed any copyrights (something
that this court will assume to be the case, given the Complaint's allegations that so
state), each of those infringements was separate and apart from the others. No
predicate has been shown for thus combining 300 separate actions on the cheap —
if CP had sued the 300 claimed infringers separately for their discrete
infringements, the filing fees alone would have aggregated $105,000 rather than
$350.

CP Productions, Inc. v. Does 1-300, 2011 U.S. Dist. LEXIS 113013, *2-3 (N.D. Ill. February
24, 2011). Joining hundreds of BitTorrent users in one lawsuit does not further the interests of
justice, but rather only the interests of the copyright plaintiffs and attorneys who file them. The
Court should dismiss Does 2-31 and require that separate filing fees be paid to re-file each

case.°

CONCLUSION
For the reasons stated above, Defendant requests that this Court quash Plaintiff's

subpoena and sever John Does 2-31 from this action.

Dated: Mar 6, 2012 Respectfully submitted,
siJohn Doe
John Doe
Pro se

 

° It should be noted that Plaintiff's Complaint does not even identify the John Does by their
respective numbers, so it is unclear which IP address corresponds to John Doe #1, John Doe

#2, etc.

14
Case 1:11-cv-02299-BAH

Civil Action No. 11-CV-0299-BAH
Defendant:

John Doe c/o

La Chenna Cromer

11417 Honeysuckle Court

Upper Marlboro, MD 20774

Document 10 Filed 03/15/12 Page 19 of 19
